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P R O B 35           ORDER TERMINATING SUPERVISED RELEASE
                            PRIOR TO EXPIRATION DATE


                           UNITED STATES DISTRICT COURT
                                     FOR THE
                          EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA                          )
                                                  )
                            vs.                   )     Docket Number: 1:98CR05370-01
                                                  )
JERONIMO AGUILAR FUENTES                          )
                                                  )


On April 10, 2000, the above-named was placed on Supervised Release for a period of 3
years. He has complied with the rules and regulations of supervision. It is accordingly
recommended that he be discharged from supervision.

                                    Respectfully submitted,

                                    /s/ Marlene K. DeOrian

                                   Marlene K. DeOrian
                              United States Probation Officer


Dated:         July 15, 2008
               Fresno, California


REVIEWED BY:           /s/ Bruce A. Vasquez
                     Bruce A. Vasquez
                     Supervising United States Probation Officer




                                                                                                         R ev. 05/2006
                                                              E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
          Case 1:98-cr-05370-AWI Document 360 Filed 08/04/08 Page 2 of 2


Re:   FUENTES, Jeronimo Aguilar
      Docket Number: 1:98CR05370-01 AWI
      ORDER TERMINATING SUPERVISED RELEASE
      PRIOR TO EXPIRATION DATE




                                 ORDER OF COURT

It is ordered that the supervisee be discharged from supervised releasee, and that the
proceedings in the case be terminated.

IT IS SO ORDERED.

Dated:   August 1, 2008                    /s/ Anthony W. Ishii
0m8i78                            CHIEF UNITED STATES DISTRICT JUDGE




                                                                                                    R ev. 05/2006
                                                         E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
